                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06CR05-6


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )             ORDER
                                                  )
KENNETH BRIAN HICKS,                              )
                                                  )
                  Defendant.                      )
________________________________________          )


        THIS CAUSE coming on to be heard and being heard on July 5, 2006, pursuant to an

oral motion made by defendant’s counsel requesting that the defendant be allowed to

participate in the Jail Based Inpatient Treatment Program, and it appearing to the court that

the defendant is charged in a one count Bill of Indictment with conspiracy to manufacture

and possess with intent to distribute a quantity of methamphetamine, schedule II controlled

substance and that the Jail Based Inpatient Treatment Program has recently been developed

by the United States Probation Office to assist defendants with the abuse of that substance.

                                          ORDER

        IT IS, THEREFORE, ORDERED that the defendant be allowed to participate in the

Jail Based Inpatient Treatment Program.




      Case 1:06-cr-00005-MR-WCM            Document 159        Filed 07/14/06       Page 1 of 2
                                Signed: July 14, 2006




                                2

Case 1:06-cr-00005-MR-WCM   Document 159    Filed 07/14/06   Page 2 of 2
